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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  SYMBOLOGY INNOVATIONS, LLC                     §
      Plaintiff,                                 §
                                                 §          Case No. 2:15-cv-1169-RWS-RSP
  vs.                                            §          LEAD CASE
                                                 §
  ADAMS EXTRACT                                  §
      Defendant.                                 §


  SYMBOLOGY INNOVATIONS, LLC                     §
      Plaintiff,                                 §
                                                 §          Case No. 2:15-cv-1170-RWS-RSP
  vs.                                            §
                                                 §          JURY TRIAL DEMANDED
  AETNA, INC.                                    §
      Defendant.                                 §

                   DEFENDANT AETNA INC.’S NOTICE OF COMPLIANCE
                         WITH COURT’S MOTION PRACTICE

          In compliance with the Court’s Amended Docket Control Order (Dkt. No. 177),

  Defendant Aetna Inc. hereby gives notice of submitting to the Court its letter brief requesting

  permission to file a motion for summary judgment that the asserted claims of U.S. Patent Nos.

  8,424,752, 8,651,369, and 8,936,190 are invalid pursuant to 35 U.S.C. § 102. A copy of the

  letter is attached as Exhibit 1.




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  Dated: August 22, 2016                      Respectfully submitted,
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                                              ATTORNEYS FOR DEFENDANT
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                                     CERTIFICATE OF SERVICE
          This is to certify that a true and correct copy of this document has been served on all

  counsel of record via electronic mail through Local Rule CV-5(a) on this the 22nd day of

  August, 2016.
                                              /s/ Tonya M. Gray




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